                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

  PARAGON COMPONENT SYSTEMS,                        )     JUDGE CHARLES E. ATCHLEY, JR.
  LLC,                                              )
                                                    )
          Plaintiff,                                )
  v.                                                )     CIVIL ACTION NO.:
                                                    )     1:24-CV-00246-CEA-CHS
  QUALTIM, INC., et al.,                            )
                                                    )
          Defendants.                               )

 DEFENDANTS’ MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION,
    IMPROPER VENUE, AND FAILURE TO JOIN NECESSARY PARTIES, OR
                 ALTERNATIVELY, TO TRANSFER VENUE
        Pursuant to Rules 12(b)(2), 12(b)(3), and 12(b)(7) of the Federal Rules of Civil Procedure

 and 28 U.S.C. § 1406(a), Defendants Qualtim, Inc., Center for Building Innovation, LLC, DrJ

 Engineering, LLC, Inspired Pursuits, LLC, Kirk Grundahl, and Suzanne Grundahl (collectively,

 “Defendants”), through undersigned counsel, hereby move to dismiss the Complaint of Plaintiff

 Paragon Component Systems, LLC for lack of personal jurisdiction, improper venue, and failure

 to join necessary parties, or alternatively, to transfer this matter to the Western District of

 Wisconsin.

        The Complaint, supporting brief, and declarations attached to this motion establish that

 personal jurisdiction does not exist over Defendants in Tennessee for a variety of reasons,

 including the fact that Defendants’ activities at issue in this case took place in Wisconsin – and not

 Tennessee. Thus, this action should be dismissed. For related reasons, dismissal is proper and

 warranted because of improper venue. Alternatively, again based upon Defendants’ activities in

 Wisconsin (and not Tennessee), this action should be transferred to the Western District of

 Wisconsin.




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 DATED this 1st day of October, 2024.

                                                       Respectfully submitted,

                                                       /s/ Shayne R. Clinton
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                                                       Attorneys for Defendants Qualtim, Inc.,
                                                       Center for Building Innovation, LLC, DrJ
                                                       Engineering, LLC, Inspired Pursuits, LLC,
                                                       Kirk Grundahl, and Suzanne Grundahl


                                        CERTIFICATION

         Pursuant to this Court’s Order issued on July 24, 2024 entitled “Order Governing Motions
 to Dismiss” (R. Doc. 4), the undersigned attorney gives notice to this Court and certifies that prior
 to filing this Motion, he has conferred with counsel for Plaintiff to determine whether an
 amendment to the Complaint could cure the deficiency, and after conferring, the parties have been
 unable to agree that the Complaint is curable by a permissible amendment or dismissal.

                                                       /s/ Thomas G. Pasternak
                                                       Thomas G. Pasternak
                                                       Attorney for Defendants




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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that the foregoing has been filed electronically. Notice
 of this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
 on the electronic filing receipt. Parties may access this filing through the Court’s electronic filing
 system.

                                                        s/ Shayne R. Clinton




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